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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                              Case No. : 16-61767-CIV-MORENO
       NOBEL DIAZ                                    )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )
                                                     )
       HOLCOMBE U.S.A., Inc. d/b/a                   )
       AUTOSHOW SALES AND SERVICE a/k/a              )
       QUICK AUTO LOAN and MOTORHOUSE                )
       INC d/b/a MOTORHOUSE,                         )
                                                     )
                     Defendants.                     )

         ORDER APPROVING FLSA SETTELEMNT AND DISMISSING CASE WITH
                                     PREJUDICE
            THIS CAUSE came before the Court upon the parties’ “Joint Motion for

       Approval of Settlement and Stipulation of Dismissal” (Joint Motion and Stipulation).

               UPON CONSIDERATION of the Joint Motion and Stipulation, and being

       otherwise fully advised in the premises, it is

               ORDERED AND ADJUDGED that the FSLA settlement submitted in chambers

       is hereby APPROVED, and the stipulation of Dismissal is hereby GRANTED.

               This case is dismissed with prejudice, and all pending motions are denied as

       moot. The Court will retain jurisdiction for 60 days to enforce the parties Settlement, if

       necessary.

               DONE AND ORDERED in Chambers at Miami, Florida this

       _________________day of _______________________, 2016.


                                                 ___________________________
                                                 FEDERICO MORENO
                                                 UNITED STATES DISTRICT JUDGE
       copies provided: All Counsels of Record
